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                       IN THE UNITED STATES DISTRICT COURT                            FILED
                            EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION                                        SEP 2 7 2021

UNITED STATES OF AMERICA                                                           CLERK, U.S. DISTRICT COURT
                                                                                   EASTERN DISTRICT OF TEXAS
                                                § CASE NUMBER 4:21CR24
v.




JOSE OSCAR MARQUEZ (1)
                                                §
                                           ORDER

       On October 21, 2020, the President signed into law the Due Process Protections Act,

Pub. L. No. 116-182, 134 Stat. 894 (Oct. 21, 2020), hich amends Federal Rule of Criminal

Procedure 5 (Initial Appearance). Counsel should immediately read the amendment to

Rule 5(f)(1) of the Federal Rules of Criminal Procedure, which became effective upon

enactment, and is entitled Reminder of Prosecutorial Obligation .

       By this written Order - issued to the prosecution and defense counsel - the Court

confirms the disclosure obligation of the prosecutor under Brady v. Maryland, 373 U.S. 83

(1963), and its progeny, and the possible consequences of violating such Order under applicable

law.


       This written Order is entered pursuant to Rule 5(f)(1) of the Federal Rules of Criminal

Procedure and is in addition to any oral order entered by the Court on the first scheduled court

date when both the prosecutor and defense counsel were present. /\ /}

       IT IS SO ORDERED. 11 /
       Signed September 27,2021 I P/

                                                    CHRISTINE A. NO AK
                                                    UNITED STATES MAGISTRATE JUDGE
